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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiff,
                                                                     8:15CR225
       vs.
                                                             ORDER FOR DISMISSAL
BRIAN CORDONA,

                      Defendant.

       This matter is before the Court on Plaintiff’s Motion to Dismiss (Filing No. 125) the

Petition for Warrant or Summons for Offender Under Supervision (Filing No. 88). The Court

finds the motion should be granted. Accordingly,

       IT IS ORDERED:

       1. The United States’ Motion is granted and the Petition for Offender Under Supervision

is dismissed without prejudice.

       Dated this 12th day of June, 2018.

                                              BY THE COURT:


                                               s/ Joseph F. Bataillon
                                              JOSEPH F. BATAILLON
                                              Senior United States District Judge
